     Case 4:22-md-03047-YGR            Document 740      Filed 04/02/24      Page 1 of 22



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 8                                  UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10

11   IN RE: Social Media Adolescent                       Case No.: 4:22-md-03047-YGR
     Addiction/Personal Injury Products Liability
12   Litigation                                           MDL No. 3047
13   This document relates to:                            STIPULATION AND [PROPOSED]
     All Actions                                          ORDER REGARDING PROTECTED
14                                                        COUNSEL COMMUNICATIONS AND
                                                          GOVERNING PRIVILEGE LOG
15                                                        PROTOCOL
16

17

18           This Stipulation and Order Regarding Protected Counsel Communications and Governing

19   Privilege Log Protocol (“Order”) shall apply to certain protected communications between

20   counsel or govern the procedures for withholding documents from discovery based on a

21   recognized claim of privilege or protection of responsive documents that would otherwise be

22   subject to discovery. This Order applies equally to all parties, who for the purposes of below

23   shall be designated in their various roles as either the “Producing Party” or “Receiving Party”

24   (defined below). All deadlines and timeframes in this order that reference “days” are referring to

25   calendar days and not business days.

26      I.      DEFINITIONS

27           All capitalized terms are defined as in the Protective Order (ECF No. 665) entered in the

28   Action unless otherwise defined below.
                                                                 PROTECTED COUNSEL COMMUNICATIONS AND
                                                                                    PRIVILEGE LOG ORDER
                                                                                            MDL NO. 3047
     Case 4:22-md-03047-YGR           Document 740          Filed 04/02/24     Page 2 of 22



 1            A.     JCCP 5225: JCCP 5225 shall refer to the actions currently included in JCCP

 2   5225, any other action hereafter added or transferred to JCCP 5225, and all actions later

 3   remanded to their respective transferor courts from JCCP 5225.

 4            B.     Discovery Material: all items, documents, or other information, regardless of the

 5   medium or manner in which it is generated, stored, or maintained, that is subject to discovery.

 6            C.     Government Counsel: attorneys, as well as their support staff, supervisors, law

 7   clerks, investigators, and any other employees of a government law office or consumer

 8   protection agency that represents a Party to the Action, JCCP 5225, or a Related Litigation.

 9            D.     Non-Filing Government Counsel: attorneys, as well as their support staff,

10   supervisors, law clerks, investigators, and any other employees of a government law office or

11   consumer protection agency, that were part of the multistate coalition investigating the claims

12   and allegations related to this Action and Related Litigation, and that have not brought suit in

13   this Action or a Related Litigation.

14            E.     Outside Legal Counsel: attorneys, as well as their support staff to whom it is

15   reasonably necessary to disclose the information for this Action or JCCP 5225 (including but not

16   limited to attorneys, paralegals, secretaries, law clerks, and investigators), who are not

17   employees of a Party to this Action, JCCP 5225, or a Related Litigation but are retained to

18   represent a Party to this Action, JCCP 5225, or a Related Litigation or to advise a Party with

19   respect to this Action, JCCP 5225, or a Related Litigation.

20            F.     Privileged Material: Discovery Material to the extent it is protected from

21   discovery based on a claim of attorney-client privilege, work product protection, or any other

22   applicable privilege or claim of protection.

23            G.     Receiving Party: a Party that receives Discovery Material or a description of

24   Discovery Material which is designated as whole or in part as Privileged Material.

25            H.     Related Litigation: litigations listed by caption in Appendix A, or as

26   supplemented.

27      II.        PROTECTED COUNSEL COMMUNICATIONS

28            Cooperation by and among Plaintiffs’ Outside Legal Counsel, including Government
                                                                   PROTECTED COUNSEL COMMUNICATIONS AND
                                                      -2-                             PRIVILEGE LOG ORDER
                                                                                              MDL NO. 3047
     Case 4:22-md-03047-YGR               Document 740         Filed 04/02/24      Page 3 of 22



 1   Counsel, and by and among Defendants’ Outside Legal Counsel, is essential for the orderly and

 2   expeditious resolution of this Action and JCCP 5225. The communication of information (A)
 3   among and between Plaintiffs’ Outside Legal Counsel, including Government Counsel, and (B)

 4   among and between Defendants’ Outside Legal Counsel, shall not be deemed a waiver of the

 5   attorney-client privilege or the protections afforded for attorney work product. Nothing contained
 6   in this provision shall be construed to limit the rights of any party or counsel to assert the

 7   attorney-client privilege or attorney work-product doctrine.

 8       III.        PRIVILEGE LOG PROTOCOL

 9              To the extent that Discovery Material is withheld from production on the basis of a good

10   faith claim that it contains Privileged Material, the Producing Party shall produce a privilege log

11   as set forth below within 45 days of the date by which the documents would otherwise have been

12   produced if not for the claim of privilege or protection, unless another time is agreed to by the

13   parties. Privilege logs shall be produced on a rolling basis.

14              A.        Exclusions from Logging Documents Reflecting Privileged Communications or

15                        Work Product: To the extent that they contain Privileged Material, the following

16                        materials presumptively need not be logged on a privilege log:

17                   1.      Communications with Counsel, including Government Counsel, expressly

18                           regarding this Action, JCCP 5225, or a Related Litigation after date of initial

19                           complaint filing;1

20                   2.      Communications exclusively between and among any Plaintiffs’ Outside

21                           Legal Counsel expressly regarding this Action or JCCP 5225, including pre-

22                           filing investigations regarding the allegations and claims asserted therein;

23                   3.      Communications between and among Government Counsel and Non-Filing

24                           Government Counsel, including their Outside Legal Counsel, during the

25                           period encompassing the pre-suit investigation that culminated in this matter

26                           and Related Litigation regarding their investigations of the allegations and

27

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      “[E]xpressly regarding this Action, JCCP 5255, or a Related Litigation” means a
     communication about the litigation activities themselves, not the subject matter of the lawsuits.
                                                                 PROTECTED COUNSEL COMMUNICATIONS AND
                                                     -3-                             PRIVILEGE LOG ORDER
                                                                                                   MDL NO. 3047
     Case 4:22-md-03047-YGR         Document 740          Filed 04/02/24     Page 4 of 22



 1                     claims asserted in this Action. This exclusion from logging also applies to

 2                     their pre-suit investigations of other Defendants related to allegations and

 3                     claims asserted in this Action and Related Litigation, regardless of whether

 4                     any Government Counsel names the Defendant in a complaint.

 5              4.     Work product regarding this Action, JCCP 5225, or a Related Litigation,

 6                     created by an attorney or at the direction of an attorney, who is part of a

 7                     Party’s Counsel, including Government Counsel;

 8              5.     Communications expressly regarding this Action, JCCP 5225, or a Related

 9                     Litigation exclusively between a Party and their Outside Legal Counsel or

10                     Government Counsel;

11              6.     Communications expressly regarding this Action, JCCP 5225, or a Related

12                     Litigation exclusively between and among either a Party’s Outside Legal

13                     Counsel or Government Counsel, including their Outside Legal Counsel, and

14                     their Experts or professional vendors, and attorney work product created by

15                     Experts or professional vendors, except (with respect to Communications

16                     between and among a Party’s Outside Legal Counsel or Government Counsel,

17                     including their Outside Legal Counsel, and their testifying Experts) to the

18                     extent the Communications:

19                         a. relate to compensation for the Expert’s study or testimony;

20                         b. identify facts or data that the party’s attorney provided and that the

21                             expert considered in forming the opinions to be expressed;

22                         c. identify assumptions that the party’s attorney provided and that the

23                             expert relied on in forming opinions to be expressed.

24   Notwithstanding the foregoing, if a Party asserts that communications regarding interactions or

25   communications with any regulator or government agency, if any, are Privileged Material, other

26   than communications included in Section III.A.3, and those subject to the common interest

27   privilege such as those between Plaintiffs’ counsel and State Attorneys General, such

28   communications shall be logged, irrespective of the involvement of counsel, including Outside
                                                                  PROTECTED COUNSEL COMMUNICATIONS AND
                                                    -4-                              PRIVILEGE LOG ORDER
                                                                                             MDL NO. 3047
     Case 4:22-md-03047-YGR           Document 740          Filed 04/02/24    Page 5 of 22



 1   Legal Counsel who were retained for this Action. Nothing herein prohibits a Party from

 2   requesting a privilege log for materials presumptively excepted from logging upon a showing of

 3   good cause.

 4          B.      Redacted Documents. Any Discovery Material that contains both Privileged

 5   Material and non-privileged material must be disclosed with the purportedly privileged portion

 6   redacted. The redacted portion shall be indicated on the Discovery Material itself with the

 7   appropriate redaction type reflected in the metadata. The Parties will not be required to log

 8   privilege redactions.

 9          C.      Format. Privilege logs shall be produced in Excel format that allows for text

10   searching, sorting, and organization of data, and shall be produced in a cumulative manner, so

11   that each subsequent privilege log includes all privilege claims from prior logs. No listings,

12   therefore, shall be deleted from the log. If a privilege claim is withdrawn in whole or in part, the

13   listing shall indicate that the claim was withdrawn in whole or in part. The correspondence

14   accompanying each privilege log shall indicate the document production volume(s) and Bates

15   range(s) to which the privilege log applies.

16          D.      Identification of Counsel. The Producing Party shall identify on the privilege log

17   the attorney, legal staff or personnel with an “ATTY” or exclamation mark.

18          E.      Metadata-Plus-Topic Log. For documents withheld on the basis of privilege or

19   work product, the Producing Party shall provide a metadata log containing the below metadata

20   fields (as defined in the ESI Order, ECF 690), a field or column indicating the privilege log

21   volume, a category/topic field for the Privileged Material (see Appendix B), and a column to

22   indicate if an entry was downgraded, modified, or withdrawn (see Section IV, supra). The

23   Producing Party shall review and analyze each document for privilege and will not rely solely on

24   the metadata to make the determination.

25                  1. PRIV LOG ID
26
                    2.   BEGBATES
27
                    3. ENDBATES
28
                                                                   PROTECTED COUNSEL COMMUNICATIONS AND
                                                      -5-                             PRIVILEGE LOG ORDER
                                                                                              MDL NO. 3047
     Case 4:22-md-03047-YGR           Document 740         Filed 04/02/24     Page 6 of 22



 1                  4. BEGATTACH
 2                  5. ENDATTACH
 3
                    6. ALLCUSTODIANS
 4
                    7. PRIV TYPE (e.g., Attorney-Client Privilege, Attorney Work Product,
 5
                        Common Interest)
 6

 7                  8. FILENAME

 8                  9. EMAILSUBJECT

 9                  10. AUTHOR
10
                    11. TO/FROM/CC/BCC
11
                    12. DATETIMESENT
12
                    13. DATETIMERECEIVED
13
                    14. DOCDATE
14

15                  15. DOCUMENT TYPE

16                  16. HASHVALUE
17                  17. ALLFILEPATHS
18
                    18. DATELASTMODIFIED
19
                    19. THREADID
20

21          F.      Narrative Log. Alternatively, a Producing Party may elect to produce a narrative

22   privilege log for documents withheld from production, which would contain a description field

23   describing each document and the basis for the privilege assertion, in addition to the metadata

24   fields listed in Section III.E above. Appendix B shall not apply to narrative logs.

25          G.      Listserv or Group Email. To the extent that Listserv or group email addresses are

26   identified on the privilege log, the Producing Party shall work in good faith to identify individuals

27   and/or groups of individuals and/or groups of individuals who make up such Listserv or group

28   email upon request, which may follow the production of the log.
                                                                  PROTECTED COUNSEL COMMUNICATIONS AND
                                                     -6-                             PRIVILEGE LOG ORDER
                                                                                             MDL NO. 3047
     Case 4:22-md-03047-YGR           Document 740          Filed 04/02/24     Page 7 of 22



 1            H.     Families of Discovery Material. If an attachment (parent or child) to a Discovery

 2   Material or communication is being withheld, such attachment(s) shall be identified in the

 3   privilege log as separate entries. Families of Discovery Material shall be logged together in

 4   sequence with the parent document followed by any other withheld documents in the Discovery

 5   Material family to the extent multiple family members are privileged. A Producing Party shall not

 6   assert that Discovery Material constitutes Privileged Material on the sole basis that it is part of a

 7   family containing other Privileged Material or is attached to a communication with Outside Legal

 8   Counsel or its In-House Legal Department.

 9            I.     Lesser Inclusive Emails. A Producing Party need not log lesser inclusive emails

10   within the same email chain so long as the most-inclusive email record is logged.

11            J.     To the extent documents require a log format that differs from the requirements

12   outlined above, the parties will meet and confer in good faith, and endeavor to agree upon an

13   appropriate log format for such documents.

14      IV.        PRIVILEGE CHALLENGE PROTOCOLS

15            Resolution of disputes regarding claims of privilege shall be in accordance with Section H

16   of the Court’s Standing Order for Discovery in Civil Cases.

17            A.     Challenges to Privilege Claims: Following the receipt of a privilege log or

18   documents that have been redacted for privilege, a Receiving Party may identify, in writing (by

19   PRIV LOG ID or Bates number), the particular documents that it believes require further

20   explanation. The Producing party shall use reasonable efforts to respond to requests within 10

21   days for challenges totaling 50 documents and under. If the challenge exceeds 50 documents, the

22   Parties will meet and confer regarding a response time frame. The Parties shall meet and confer to

23   try to reach a mutually agreeable solution.

24            B.     Changes to Redactions or Privilege Designations: To the extent that any privilege

25   assertions are downgraded, modified, or withdrawn by the Producing Party as a result of meet and

26   confer in accordance with the process above, the Producing Party shall within 14 days, or within a

27   time frame as agreed to by the Receiving and Producing Parties, produce any such downgrades as

28   production overlays and indicate the same in the production cover letter to be served with a “key”
                                                                   PROTECTED COUNSEL COMMUNICATIONS AND
                                                      -7-                             PRIVILEGE LOG ORDER
                                                                                              MDL NO. 3047
     Case 4:22-md-03047-YGR           Document 740          Filed 04/02/24     Page 8 of 22



 1   that indexes the privilege identification number with the assigned Bates Number for each

 2   downgraded document. In the event any privilege assertion is downgraded, modified, or
 3   withdrawn by the Producing Party with respect to documents to be used in an upcoming

 4   deposition, the Parties shall meet and confer and the Producing Party shall use reasonable efforts

 5   to produce the documents in advance of the deposition.
 6      V.      MODIFICATION

 7           This Order may be modified at any time by the Court on its own motion, for good cause

 8   shown on motion of a party, or by agreement of the parties with the Court’s approval.

 9   Compliance with this Protocol satisfies the Producing Party’s obligations under Federal Rule of

10   Civil Procedure 26(b)(5) to expressly claim a privilege or protection and describe the nature of

11   Privileged Material for other parties to assess the claim.

12

13   IT IS SO STIPULATED, through Counsel of Record.

14   DATED: April 1, 2024                            Respectfully submitted,

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                                                                                              MDL NO. 3047
     Case 4:22-md-03047-YGR   Document 740     Filed 04/02/24    Page 9 of 22



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                                         -9-                             PRIVILEGE LOG ORDER
                                                                                 MDL NO. 3047
     Case 4:22-md-03047-YGR   Document 740     Filed 04/02/24      Page 10 of 22



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                                         - 10 -                            PRIVILEGE LOG ORDER
                                                                                   MDL NO. 3047
     Case 4:22-md-03047-YGR   Document 740      Filed 04/02/24      Page 11 of 22



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                                         - 11 -                             PRIVILEGE LOG ORDER
                                                                                    MDL NO. 3047
     Case 4:22-md-03047-YGR   Document 740      Filed 04/02/24      Page 12 of 22



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                                         - 12 -                             PRIVILEGE LOG ORDER
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     Case 4:22-md-03047-YGR   Document 740      Filed 04/02/24      Page 13 of 22



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                                                         PROTECTED COUNSEL COMMUNICATIONS AND
                                         - 13 -                             PRIVILEGE LOG ORDER
                                                                                    MDL NO. 3047
     Case 4:22-md-03047-YGR   Document 740      Filed 04/02/24    Page 14 of 22



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                                         - 14 -                            PRIVILEGE LOG ORDER
                                                                                   MDL NO. 3047
     Case 4:22-md-03047-YGR   Document 740      Filed 04/02/24    Page 15 of 22



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                                         - 15 -                            PRIVILEGE LOG ORDER
                                                                                   MDL NO. 3047
     Case 4:22-md-03047-YGR   Document 740      Filed 04/02/24     Page 16 of 22



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                                         - 16 -                             PRIVILEGE LOG ORDER
                                                                                    MDL NO. 3047
     Case 4:22-md-03047-YGR      Document 740      Filed 04/02/24    Page 17 of 22



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20    PURSUANT TO STIPULATION,
      IT IS SO ORDERED that the foregoing Agreement is approved.
21

22
              April 2, 2024
      DATED: _____________________           ___________________________________
23
                                             PETER H. KANG
24                                           UNITED STATES MAGISTRATE JUDGE
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                                               - 17 -                         PRIVILEGE LOG ORDER
                                                                                      MDL NO. 3047
     Case 4:22-md-03047-YGR          Document 740        Filed 04/02/24      Page 18 of 22



 1                                               Appendix A

 2    The Parties agree the below litigations are within the scope of Related Litigation*:

 3                                                   Meta

 4          State of Arkansas, ex rel. Tim Griffin, Attorney General v. Meta Platforms, Inc.;

 5           Facebook Holdings, LLC; Facebook Operations, LLC; Meta Payments Inc.; Facebook

 6           Technologies, LLC; Instagram, LLC; and Siculus, Inc., Case No. 57CV-23-47 (Arkansas

 7           Circuit Court, Polk County).

 8          District of Columbia v. Meta Platforms, Inc. and Instagram, LLC, Case No. 2023 CAB

 9           006550 (D.C. Superior Court).

10          Commonwealth of Massachusetts v. Meta Platforms, Inc. and Instagram, LLC, Case No.

11           2384CV02397 (Massachusetts Superior Court, Suffolk County).

12          State of Mississippi, ex rel. Lynn Fitch, Attorney General v. Meta Platforms, Inc.;

13           Instagram, LLC; Meta Payments, Inc., and Meta Platforms Technologies, LLC, Case No.

14           25CH1:23-cv-01205 (Mississippi Chancery Court, First Judicial District).

15          State of New Hampshire v. Meta Platforms, Inc., and Instagram, LLC, Case No. 217-

16           2023-CV-00594 (New Hampshire Superior Court, Merrimack, SS).

17          State of Oklahoma, ex rel. Gentner Drummond, Attorney General of Oklahoma v. Meta

18           Platforms, Inc., and Instagram, LLC, Case No. CJ-2023-00180 (Oklahoma District

19           Court, Osage County).

20          State of Tennessee, ex rel. Jonathan Skrmetti, Attorney General and Reporter v. Meta

21           Platforms, Inc., and Instagram, LLC, Case No. 23-1364-IV (Tennessee Chancery Court,

22           Davidson County).

23          Utah Division of Consumer Protection v. Meta Platforms, Inc., and Instagram, LLC,

24           Case No. 230908060 (Utah Third District Court, Salt Lake County).

25          State of Vermont v. Meta Platforms, Inc., and Instagram, LLC, Case No. 23-CV-04453

26           (Vermont Superior Court, Chittenden County).

27          State of New Mexico, ex rel. Raul Torrez, Attorney General v. Meta Platforms, Inc.;

28           Instagram, LLC; Meta Payments Inc.; Meta Platforms Technologies, Inc; and Mark
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                                                                                      PRIVILEGE LOG ORDER
                                                                                              MDL NO. 3047
     Case 4:22-md-03047-YGR         Document 740        Filed 04/02/24     Page 19 of 22



 1           Zuckerberg, Case No. D-0101-CV-202302838 (New Mexico First Judicial District Court,

 2           Santa Fe County).

 3          State of Nevada v. Meta Platforms, Inc., and Instagram, LLC, Case No. A-24-886110-B

 4           (Nevada District Court, Clark County).

 5          State of Nevada v. Meta Platforms, Inc., and Instagram, LLC, Case No. A-24-886115-B

 6           (Nevada District Court, Clark County).

 7          State of Nevada v. Meta Platforms, Inc., and Instagram, LLC, Case No. A-24-886120-B

 8           (Nevada District Court, Clark County).

 9          M.G. v. Meta Platforms, Inc.; Instagram, LLC; Facebook Payments, Inc.; Siculus, Inc.;

10           Facebook Operations, LLC; and Tory Dwanell Saidstuart , Case No. 3:23-cv-01861 (D.

11           Or.).

12          Norma Nazario, individually and as Administrator of the Estate of Zackery Nazario v.

13           Bytedance LTD.; Bytedance, INC.; TikTok, Inc.; Meta Platforms, Inc., Metropolitan

14           Transportation Authority, and New York City Transit Authority, Case No. 0151540/2024

15           (N.Y. Supreme Ct., New York County).

16

17                                                 Snap

18          State AG Nevada v. Snap, Inc., A-24-886113-B (Nevada District Court, Clark County)

19          Kennedy Harris, et al v. Snap, 05251 LACV044283 (Iowa District Court, Dallas County)

20          Linda Blea v. Snap, D-412-CV-2022-00236 (New Mexico – 4th Judicial District, San

21           Miguel County)

22          V.V. and E.Q., individually and as next friends to minor C.O., v. Meta, et al., FBT-CV-

23           XX-XXXXXXX-S (Conn. Superior Court, Judicial District of Fairfield at Bridgeport); 3:23-

24           cv-00284-SVN (D. Conn.); UWYCV235032685S (Conn. Superior Court, Complex -

25           Waterbury Dist.)

26          Cody Dahl and Tonya Cole Dahl v. Alphabet, Inc., et al., 4:23-cv-9472 (W.D. Tex.)

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                                                      -2-                           PRIVILEGE LOG ORDER
                                                                                            MDL NO. 3047
     Case 4:22-md-03047-YGR           Document 740       Filed 04/02/24      Page 20 of 22



 1                                                 TikTok

 2          Nasca, et al. v. ByteDance Ltd., et al., No. 2:23-cv-02061 (E.D.N.Y.)

 3          Anderson, et al. v. TikTok Inc., et al., No. 2:22-cv-01849-PD (E.D. Pa.), appeal docketed,

 4           No. 22-3061 (3d Cir.)

 5          Bogard, et al. v. TikTok Inc., et al., No. 3:23-cv-00012 (S.D. Ind.)

 6          Nazario, et al. v. ByteDance Ltd., et al., No. 151540/2024 (New York Supreme Court, New

 7           York County)

 8          Nevada v. TikTok Inc., et al., No. A-24-886127-B (Nevada District Court, Clark County)

 9          Utah v. TikTok Inc., et al., No. 230907634 (Utah Third District Court, Salt Lake County)

10          Arkansas v. TikTok Inc., et al., No. 12CV-23-65 (Arkansas Circuit Court, Cleburne County)

11          Iowa v. TikTok Inc., et al., No. 24-1522 (Iowa District Court, Polk County)

12          Kansas v. TikTok Inc., et al., (Kansas District Court, Shawnee County)

13          Indiana v. TikTok Inc., et al., No. 23A-PL-03110 (Ind. Ct. App.)

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15                                                 YouTube

16          Cody Dahl et al. v. Alphabet, Inc. et al., Case No. 1:23-cv-01496 (W.D. Tex.) (removed

17           December 11, 2023)

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19    * Upon agreement between the Plaintiffs and Defendants, this list may be updated without leave

20    of Court and by serving it on all Parties.

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                                                     -3-                              PRIVILEGE LOG ORDER
                                                                                              MDL NO. 3047
     Case 4:22-md-03047-YGR           Document 740         Filed 04/02/24      Page 21 of 22



 1                                                  Appendix B

 2

 3    The Parties list below the agreed-upon topics for the topic field for the privilege log option in

 4    Section III.E. A Party is only required to choose one topic for each withheld document, but may

 5    choose multiple.

 6       1. acquisitions, sales, or divestitures

 7       2. advertising and marketing

 8       3. board of directors meeting agendas, presentations, and/or draft meeting minutes

 9       4. compliance with foreign laws and regulations

10       5. compliance with U.S. laws and regulations

11       6. contract drafting or evaluation

12       7. drafting of, implementation of, or compliance with company policies or procedures

13       8. foreign government hearings, investigations, or inquiries

14       9. U.S. government hearings, investigations, or inquiries

15       10. human resources/employee issues

16       11. identity and age verification issues

17       12. intellectual property and patent issues

18       13. legal hold

19       14. the current litigation (MDL 3047), JCCP 5225, and Related Litigation

20       15. litigation other than the MDL 3047, JCCP 5225, and Related Litigation

21       16. periodic regulatory filings

22       17. product features

23       18. review of proposed communications re public and media appearances, press releases, or

24           other published statements

25       19. user safety

26       20. [a logging party may add additional categories as appropriate during review, which will

27           be disclosed to the Requesting Party.]

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                                                                                               MDL NO. 3047
     Case 4:22-md-03047-YGR          Document 740        Filed 04/02/24     Page 22 of 22



 1                                           ATTESTATION

 2           I, Ashley M. Simonsen, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the

 3    concurrence to the filing of this document has been obtained from each signatory hereto.

 4

 5    Dated: April 1, 2024                        /s/ Ashley M. Simonsen
                                                  Ashley M. Simonsen
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